                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TENNESSEE
                                KNOXVILLE DIVISION

  BITUMINOUS CASUALTY                )
  CORPORATION,                       )
                                     )
        Plaintiff,                   )
                                     )
  v.                                 )                    Case No. 3:09-cv-00060
                                     )                               (VARLAN/SHIRLEY)
  WALDEN RESOURCES, LLC, AMWES       )
  EXPLORATION, LLC, DANIEL POTTS,    )
  ZTX DRILLING, LLC, JONATHAN D.     )
  VANN, LEXINGTON INSURANCE          )
  COMPANY, WILD WELL CONTROL, INC., )
  MARLOW VOLUNTEER FIRE              )
  DEPARTMENT, SUPERIOR WELL          )
  SERVICES, INC., GRIFFITH SERVICES, )
  LLC, BLOWOUT TOOLS, INC.,          )
  MILLER PETROLEUM, INC., B. J.      )
  SERVICES COMPANY and MICHAEL       )
  TRUMP,                             )
                                     )
        Defendants.                  )

                        AGREED ORDER OF DISMISSAL AS TO
                       DEFENDANT WALDEN RESOURCES, LLC

        It appearing to the Court from the signatures hereto that:

        1.     As set forth in the complaint for declaratory judgment, interpleader and

  permanent injunctive relief filed in this action, Walden Resources, LLC was joined

  pursuant to 28 U.S.C. § 2201, Rule 57 of the Federal Rules of Civil Procedure, 28

  U.S.C. § 1335 and Rule 22 of the Federal Rules of Civil Procedure, in that Walden

  Resources, LLC is a named insured on insurance policies at issue and pursuant to the

  Declaratory Judgment Act and Federal Interpleader Act would be directly affected by the

  declarations made by this Honorable Court, and based upon the desire of Bituminous

  Casualty Corporation that Walden Resources, LLC be bound by the declarations made by




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  this Honorable Court as to the issues raised in this action;

         2.      Walden Resources, LLC has reviewed the complaint for declaratory

  judgment, interpleader and permanent injunctive relief, and the issues raised therein;

         3.      Walden Resources, LLC affirmatively states that all matters in controversy

  involving it have been settled, that it asserts no interest in the remaining determinations

  requested in the complaint for declaratory judgment, interpleader and permanent injunctive

  relief, and that it agrees that it will not contest the declarations sought by Bituminous

  Casualty Corporation in the complaint for declaratory judgment, interpleader and

  permanent injunctive relief; and

         4.      Consequently, Bituminous Casualty Corporation and Walden Resources,

  LLC have agreed that Walden Resources, LLC may be dismissed from this case without

  prejudice and need not participate further in this litigation.

         Based upon the representations contained herein, this Court dismisses Walden

  Resources, LLC from this matter upon the representations that it will claim no interest

  under the Declaratory Judgment Act and Federal Interpleader Act in the outcome of the

  determinations sought by Bituminous Casualty Corporation in the complaint for

  declaratory judgment, interpleader and permanent injunctive relief.

         ENTERED this 30th day of June 30, 2010.




                                               s/ Thomas A. Varlan
                                               UNITED STATES DISTRICT JUDGE




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  APPROVED FOR ENTRY:



  _s/ Parks T. Chastain_____________________
  PARKS T. CHASTAIN
  Registration No. 13744
  BENJAMIN J. MILLER
  Registration No. 025575
  Attorneys for Plaintiff, Bituminous Casualty Corporation

  BREWER, KRAUSE, BROOKS,
  CHASTAIN & BURROW, PLLC
  P. O. Box 23890
  Nashville, TN 37202-3890
  (615) 256-8787



  __s/George Buxton, III_ _____________________
  GEORGE BUXTON, III
  Registration No. 800
  Attorney for Defendant, Walden Resources, LLC and Daniel Potts

  BUXTON LAW FIRM
  31 E. Tennessee Avenue
  Oak Ridge, TN 37830
  (865) 482-4920




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